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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 15-24339-CIV-KING

  ANGELA SAMPSON,

         Plaintiff,

  vs.

  CARNIVAL CORPORATION,

        Defendant.
  _________________________________________/


          DEFENDANT’S DAUBERT CHALLENGES TO PLAINTIFF’S EXPERTS

         The Defendant, CARNIVAL CORPORATION, by and through its undersigned counsel,

  pursuant to Rule 37 of the Federal Rules of Civil Procedure and Local Rule 7.1 of the Local

  Rules governing practice in and for the Southern District of Florida, hereby respectfully submits

  this Motion in Limine to challenge the admissibility of certain experts’ opinions that Plaintiff

  intends to present at trial, and as grounds therefor, states as follows:

         1.      This is a maritime personal injury action in which Plaintiff alleges she sustained

  injuries to her lower back, ankle, neck, and left shoulder, on or about October 24, 2014 as a

  result of a slip and fall on the Lido Deck while sailing as a passenger aboard CARNIVAL’s

  vessel, the Inspiration. She alleges that she slipped on a liquid on the deck which caused her fall.

         2.      In this slip and fall case, Plaintiff disclosed the intent to call two expert witnesses

  at trial. Defendant raises its Daubert challenges as to the following:

              a. Plaintiff’s orthopedic expert Dr. Behnam Myers, D.O.

              b. Plaintiff’s chiropractic expert Dr. Mark Harrington, D. C.




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                                     MEMORANDUM OF LAW

  I.     THE OPERATIVE DAUBERT STANDARD FOR ADMISSIBILITY OF EXPERT
         OPINION TESTIMONY.

         Rule 702 of the Federal Rules of Evidence requires the district courts to serve as

  gatekeepers to the admission of scientific testimony. Daubert v. Merrell Dow Pharms., Inc., 509

  U.S. 579, 589, 113 S. Ct. 2786, 2795, 125 L.Ed.2d 469 (1993). The district courts maintain this

  role “‘to ensure that speculative, unreliable expert testimony does not reach the jury’ under the

  mantle of reliability that accompanies the appellation ‘expert testimony.’” Rink v. Cheminova,

  Inc., 400 F.3d 1286, 1291 (11th Cir. 2005). As gatekeepers, the courts properly exclude any

  expert or expert opinion that does not satisfy any one of the following criteria:

         (1) The expert must be qualified to testify competently regarding the matters he
         intends to address; (2) the methodology used to reach any conclusions must pass
         the Daubert test of reliability; and (3) the testimony assists the trier of fact,
         through the application of scientific, technical, or specialized expertise, to
         understand the evidence or to determine a fact in issue.

  Fed.R.Evid. 702; Quiet Tech. DC-8, Inc v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1341-2 (11th

  Cir. 2003). The Eleventh Circuit refers to these requirements as the “qualification,” “reliability,”

  and “helpfulness” prongs, and although there is inevitably some overlap, they remain distinct

  concepts that must be individually analyzed. United States v. Frazier, 387 F.3d 1244, 1260 (11th

  Cir. 2004). The party offering the expert testimony bears the burden to lay the proper foundation

  for the expert opinion to be admissible, and admissibility must be shown by a preponderance of

  the evidence. Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999).

         A.   The experts must be qualified to render opinions on the specific subject at issue.

         To warrant admissibility, the expert’s testimony must be derived from scientific,

  technical or otherwise specialized knowledge on the specific subject matter at issue, and “the



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  word ‘knowledge’ connotes more than subjective belief or unsupported speculation.” Daubert,

  509 U.S. at 590.

         B. The opinions must be scientifically valid and reliable.

         When a court considers the reliability of an expert witness, the court must undertake an

  independent analysis of each step in the logic leading to the expert's conclusions; if the analysis

  is deemed unreliable at any step, the expert's entire opinion must be excluded. Hendrix v. Evenflo

  Co., Inc., 255 F.R.D. 568, 578 (N.D. Fla. 2009) citing McClain v. Metabolife Int'l, Inc., 401 F.3d

  1233, 1245 (11th Cir. 2005). District Courts are charged with the duty to assess “whether the

  reasoning or methodology underlying the testimony is scientifically valid ...” Daubert, 509 U.S.

  at 592-93. At all times, the court’s focus must be on the methodology and principles used by the

  expert to reach his conclusions, not the conclusions themselves. McDowell v. Brown, 392 F.3d

  1283, 1298 (11th Cir. 2004).          Expert testimony must be excluded if the reasoning or

  methodology underlying the opinion is scientifically invalid, or if the methodology cannot

  properly be applied to the facts. Daubert, 509 U.S. at 592.

         The courts determine reliability based on these factors:

         (1)whether the expert’s theory can be and has been tested; (2) whether the theory
         has been subjected to peer review and publication; (3) the known or potential rate
         of error of the particular scientific technique; and (4) whether the technique is
         generally accepted in the scientific community.

  Quiet Technology DC-8, Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir. 2003).

  Failure to satisfy these criteria demonstrates the theories are speculative and highly unreliable.

  Kallas v. Carnival Corp., 2009 WL 901507, *6 (S.D. Fla. 2009). Furthermore, an expert opinion

  is not admissible when the only connection between the conclusion and the existing data is the

  expert’s own ipse dixit assertion. McDowell v. Brown, 392 F.3d 1283, 1300 (11th Cir. 2004)



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  (citing General Electric v. Joyner, 522 U.S. 136, 146, 118 S. Ct. 512 (1997).

          C. The opinions must be helpful to the jury.

          Federal Rule of Evidence 702 dictates that in order to be admissible, the expert's

  testimony must assist the fact finder. Craggs Const. Co. v. Federal Ins. Co., 2007 WL 1452927,

  *1 (M.D. Fla. 2007). “By doing so, the court ensures that expert witnesses will not testify about

  lay matters which a jury is capable of understanding and deciding without the expert's help.”

  Hendrix v. Evenflo Co., Inc., 255 F.R.D. 568, 579 (N.D. Fla. 2009). Otherwise, there is a risk the

  jury will give the expert testimony undue weight because of its status. See Cook ex rel. Estate of

  Tessier v. Sheriff of Monroe County, 402 F.3d 1092, 1111 (11th Cir. 2005). It is not helpful for

  the expert to just tell the jury how to decide the case. See Montgomery v. Aetna Cas. & Sur. Co.,

  898 F.2d 1537, 1541 (11th Cir. 1990).

  II.    THE OPINIONS OF PLAINTIFF’S MEDICAL EXPERTS MUST BE LIMITED TO
         THEIR RESPECTIVE AREAS OF EXPERTISE.

         A. Dr. Harrington is a chiropractor and is not qualified to talk about the
            reasonableness, relatedness or necessity of Plaintiff’s surgical procedure.

         Dr. Harrington is a chiropractor. As indicated in his C.V., he has no experience or training

  as a surgeon. [See Ex. 1]. Similarly, he has not performed a surgery on any of his patients. Dr.

  Harrington is a qualified chiropractor, but he is not qualified to opine on a subject outside his

  area of expertise.

  III.    THE FAILURE TO CONDUCT A DIFFERENTIAL DIAGNOSIS ANALYSIS
          RENDERS THE DIAGNOSTIC OPINIONS OF PLAINTIFF’S PHYSICIANS
          UNRELIABLE.

          A. The Legal Standard for reliability of a diagnostic opinion.

          The appropriate methodology for a medical expert to reach a reliable diagnosis in

  litigation is the differential diagnosis methodology. See Chapman v. P&G Distrib., 766 F.3d


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  1296 (11th Cir. 2014). A reliable differential diagnosis analysis requires an expert to “compile a

  comprehensive list of hypotheses that might explain a plaintiff’s condition. Chapman, at 1310,

  citing Hendrix, 609 F.3d at 1195. The expert must provide reasons for rejecting alternative

  hypotheses using scientific methods and procedures and the elimination of those hypotheses

  must founded on more than subjective beliefs or unsupported speculation. Id. An expert’s

  failure to enumerate a comprehensive list and to eliminate the alternatives in a scientific fashion

  determines the reliability and admissibility of the diagnosis under Daubert. Id. The second step

  – ruling out potential alternative diagnoses – is crucial to the reliability of the conclusion. Guinn

  v. AstraZeneca Pharms. LP, 602 F.3d 1245 (11th Cir. 2010). Similarly, a physician’s opinion

  based upon experience alone is not sufficiently reliable to pass muster under a Daubert

  challenge. McDowell v. Brown, 392 F.3d 1283, 1300-1301 (11th Cir. 2004) (citing General

  Electric v. Joyner, 522 U.S. 136, 146, 118 S. Ct. 512 (1997).

         B. Dr. Myers failed to conduct a reliable differential diagnosis analysis.

         Dr. Myers never conducted a differential diagnosis analysis before diagnosing Plaintiff

  with an aggravation of a preexisting medical condition. His conclusions were based on the

  Plaintiff’s subjective history and the inaccurate referral of the pain management doctor.

                  a. Dr. Myers analysis was based on the Plaintiff’s subjective history and not
                     medical evidence.

         At his deposition, Dr. Myers was asked about his conclusion that Plaintiff’s

  symptomology was a result of an aggravation of a preexisting medical condition. Dr. Myers

  responded that his understanding that Plaintiff’s complaints related to her prior medical condition

  had resolved:

         Q.      Okay. The notion that the prior lower back problems were resolving,
         is that something that Ms. Sampson told you?


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         *****
         A.     It's a combination of what the patient told me and what Dr. Davis
         wrote in his note, stating that, "Discussing the history of her complaints, she
         states that her quote/unquote sciatica left lower extremity pain began
         following a fall 10-24-2014, on that last day of a cruise she was on during her
         son's wedding. She states she apparently slipped on a wet surface that was
         unmarked and since then has begun suffering from excruciating pain."
         Q.     What are you reading from there, Doctor?
         A.     This is the notes that Dr. Davis provided to me.

  [B. Myers Depo., p. 45:1- 45:19, Exhibit 2].

         Dr. Myers was subsequently questioned about the basis for that conclusion to which he

  responded “[y]ou would have to ask Dr. Davis [referring pain management doctor] on what he

  was basing his entry.” [B. Myers Depo., p. 46: 6-7]. However, Dr. Myers conceded that his

  understanding that Plaintiff’s symptoms related to an extensive history of a preexisting medical

  condition that were chronic in nature and symptomatic were based entirely on the information

  given to him by Dr. Lowell Davis, Plaintiff’s pain management doctor that was treating her even

  before the subject accident. This information was all based on the information provided to Dr.

  Davis by the Plaintiff that she was symptom free:

         Q.      Sure. But semantically, I just want to make sure you just read me the
         passage, "Discussing a history of her complaints, she states that this sciatica
         left lower extremity pain began following a fall on 10-24-14 on that last day
         of the cruise." Correct?
         A.      Correct, I read the words that Dr. Davis wrote.

         *****
         Q.    Okay. So you'd agree with me, from the words that are on the page,
         the communication from Dr. Davis is that this is information that Ms.
         Sampson gave him?
         A.    I agree with you that these are the words that Dr. Davis wrote on that
         page.



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  [B. Myers Depo., p. 46:17- 47:11, Exhibit 2].

         Thus, the entire basis for Dr. Myers conclusion that Plaintiff’s symptoms had resolved

  and that she was symptom free prior to embarking on the subject cruise were based on Plaintiff’s

  statements. Plaintiff or her referring physician Dr. Davis conveniently omit mention of the fact

  that she presented to Dr. Davis office seeking pain management medical care for her identical

  symptoms 4 days prior to sailing on the Carnival Inspiration.

         On October 16, 2014, 4 days before Plaintiff sailed on the Carnival Inspiration and 8

  days before the subject incident, she visited Dr. Davis. On the medical records from this date, in

  the section titled History of Present Illness Dr. Davis remarks that Plaintiff:

         who presented to the office today with a longstanding history of chronic pain
         with the primary focus in the low back, left buttock and her left extremity . . . In
         the past few months, she has completed her course of chiropractic [sic] are
         providing her with a positive response, however, her symptoms continue. . .
         Associated with the pain, she reports numbness and tingling in the left lower
         extremity.

  [Medical Records Dr. Davis, Exhibit 3].

  Thus, as of 4 days before the cruise set sail, Plaintiff was treating for the identical symptoms that

  she is claiming were the result of an accident that had not yet occurred. In his Assessment of the

  same date, Dr. Davis notes that Plaintiff’s “primary complaint of law back, buttock and left

  extremity pain appears to be mechanical as well as neuropathic in nature. She received some

  relief with recent therapy, however, her symptoms continue. Id at 2. Dr. Davis recommended that

  Plaintiff obtain a lumbar spine MRI which was scheduled for October 27. Id at 3. Thus, Plaintiff

  had already been scheduled for an MRI 8 days before the alleged incident on the cruise. There is

  no medical justification for ordering an MRI on a patient who is symptom free as the Plaintiff

  and Dr. Davis led Dr. Myers to believe.



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         Furthermore, Plaintiff presented to one of her named experts, Dr. Harrington for

  chiropractic treatment for her lumbar spine on October 8, 2014. Plaintiff reported severe pain

  levels in her lumbar spine with stiffness at that time, rated a 9 of 10. [Medical Records Dr.

  Harrington, Exhibit 4]. As a result of these troubling reports of pain, Dr. Harrington ordered

  lumbar x-rays which evidenced “narrowing of the neural foramina at L5/S1”. This is the same

  exact level that Plaintiff had surgically operated by Dr. Myers. Plaintiff actually continues her

  treatment with Dr. Harrington related to her lumbar pain on October 9, October 10, October

  13, October 15, October 17, and October 18 before she departed on the subject cruise on

  October 20. Yet Plaintiff will have this Court believe that she was asymptomatic with symptoms

  that were completely resolved when the alleged incident happened.

         After returning from the cruise on October 24, 2014, Plaintiff first presented to an

  UrgentMed Center on October 25, the day after the conclusion of her cruise. [Medical Records

  UrgentMed, Exhibit 5]. In the section titled History of Present Illness, Plaintiff reports to her

  treating medical profession that she “ was on a cruise ship when she slipped on a wet surface

  amd now [complains of] pain to her left ankle and lower back. . . [D]enies previous injury to

  the aforementioned areas.” Id at 3. Therein lies the inception of the Plaintiff’s attempts to

  conceal information from her physicians. This deception is the genesis of the misinformation

  relied on by Dr. Myers to conclude that Plaintiff’s symptoms from her preexisting and chronic

  lumbar spine condition had resolved before the cruise.

         Furthermore, a perusal of Plaintiff’s relevant prior medical history evidences the same

  symptomology and objective medical findings that are the basis for Dr. Myers decision to

  operate on the Plaintiff as early as 2012. Plaintiff’s radiculopathy lumbar pain, stiffness and

  radiculopathy appear as early as February 25, 2012. [Medical Records Kaiser Permanente Group,


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  Exhibit 6]. In records from her primary care doctor, Plaintiff presented on February 29, 2012

  for a follow up on her lumbar MRI dated February 25, 2012. The diagnosis was radiculopathy

  with evidence of disk bulging with compression on the left sided foramen. Id. Plaintiff was

  underwent surgery with Dr. Myers for the very same condition 5 years later.

         In the operative note for the L5-S1 surgery performed by Dr. Myers on July 7, 2015, he

  provides insight into the medical need for this procedure. In the section titled Justification of

  Procedure and Procedure in Detail, Dr. Myers further confirms Plaintiff “denied any prior

  radiculopathy to this accident. . . [s]he states that her lumbar radiculopathy down to the left leg is

  new since her fall dated October 24, 2014.” Hence, the justification for Plaintiff’s surgery was

  the “emergence” of radiculopathy which she attributes to a slip and fall accident on the cruise.

  This is despite the fact that she had the condition diagnosed in February 2012, and treated

  extensively for it immediately prior to leaving on the subject cruise on October 20, 2014.

         Plaintiff’s failure to disclose this information to Dr. Myers is troubling in and of itself. To

  compound the harm of this critical omission, Dr. Myers testimony reflects that his opinion is

  based on Plaintiff’s less than candid subjective medical history and not any type of cognizable

  science that can be tested and peer reviewed as required by Daubert. Dr. Myers failed to

  perform a differential diagnosis on Plaintiff’s medical condition despite the fact that:

             a. the condition was diagnosed as early as 2012;

             b. Plaintiff sought treatment from a chiropractor for lumbar pain 7 times in the 2

                 weeks leading to the cruise (from 10/08/14-10/18/14);

             c. was ordered to undergo x-rays on 10/8/14 which evidenced neural compression at

                 L5-S1 which was the basis for her lumbar surgery; and

             d. Plaintiff’s visit to a pain management doctor for her severe symptoms 4 days


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                  before she left on the cruise.

          Dr. Myers failure to take any of this into account in his conclusions renders his opinion

   being unreliable under Daubert and the Court properly strikes his opinion.

                  b. Dr. Myers did not perform any testing to conduct a differential diagnosis
                     in support of his conclusions as required under the Daubert reliability
                     prong.

          Dr. Myers basis for his opinion that Plaintiff had an aggravation of a preexisting medical

   condition is an unreliable Ipse Dixit statement that fails under Daubert analysis. As indicated in

   the McDowell v. Brown decision above, an ipse dixit assertion alone is insufficient to justify an

   expert’s assertions. McDowell v. Brown, 392 F.3d 1283, 1300 (11th Cir. 2004) (citing General

   Electric v. Joyner, 522 U.S. 136, 146, 118 S. Ct. 512 (1997).

          When questioned about the basis for his opinion that Plaintiff’s medical condition was in

   fact an exacerbation, Dr. Myers was unable to identify any cognizable facts in support of his

   opinion. Dr. Myers explained that the entirety of his opinion was based on the Plaintiff’s

   reported history and a positive straight leg test:

          Q.      I'm just talking about exacerbation. Other than her saying it, what
          other proof, if any, do you rely on for this opinion?
          A.      The opinion is based on the fact that she had a prior existing injury,
          and the fact that her report is that her symptoms got worse after the fall.
          Q.      Okay. So it's fully based on her report?
          A:      Actually it's based on the information provided as a preexisting
          condition, and it's based on the information provided by the patient in the
          history.
           Q.     Okay. What about the results of your physical exam, Doctor, enabled
          you to conclude that there was an exacerbation of the preexisting herniated
          disc at L5-S1?
          A.      She had positive straight leg raise.
          Q.      Okay. Anything else?
          A.      That was enough.

   [B. Myers Depo., p. 38:20- 39:17, Exhibit 2].



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   A straight leg exam will evidence that the Plaintiff’s disc is herniatied. However, as Dr. Myers

   readily conceded, Plaintiff has a “prior history of an L5-S1 disc herniation”. [B. Myers Depo., p.

   37:22-23 Exhibit 2]. Thus, the only examination performed by Dr. Myers to support his

   conclusion that there was in fact an exacerbation is an examination that will only show what

   everyone already knew: the Plaintiff had been diagnosed with a disc herniation as of 2012, 2

   years prior to the subject cruise.

          As Dr. Myers can offer no evidence to support his theory that there was an exacerbation,

   his opinion must be properly excluded to avoid confusing the jury. Moreover, Dr. Myers fails to

   perform a differential diagnosis as required of medical professionals under Chapman. See

   Chapman v. P&G Distrib., 766 F.3d 1296 (11th Cir. 2014). Dr. Myers merely found a

   conclusion that he liked and would have this Court and the jury, take his ipse dixit statements as

   sufficient evidence and justification for his findings that there was an exacerbation/aggravation

   of Plaintiff’s condition. Eleventh circuit case law is abundantly clear that the Court properly

   excludes Dr. Myers findings that do not pass muster under a Daubert challenge.

          C. Dr. Harrington failed to conduct a differential diagnosis analysis.

          Dr. Harrington ordered x-rays of Plaintiff’s lumbar spine which evidenced neural

   compression at L5-S1, 12 days before Plaintiff disembarked on the cruise. He treated her 7 times

   severe lumbar pain in the 2 weeks prior to her voyage on the Carnival Inspiration.                 Dr.

   Harrington did not perform any analysis remotely resembling a differential diagnosis. He merely

   concludes that “[i]t is more likely than not the slipping incident of October 24, 2014 caused

   [Plaintiff’s] injury and pain in her left shoulder, neck and back.” Exhibit 1. He also concludes

   that “there was no other likely cause of her complaints and pain between the date of the incident

   and the day I evaluated her.” Id. Shockingly, Dr. Harrington fails to take into account or even


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   mention the x-rays he ordered on October 8, 2014 and the 7 times Plaintiff visited his office to

   treat her lumbar pain on October 8, October 9, October 10, October 13, October 15, October

   17, and October 18 into his analysis or conclusion that there was no other likely cause of

   Plaintiff’s pain. Dr. Harrington’s failure to include this relevant information into his analysis

   renders his opinion properly excluded under Daubert.

   IV.    THE EXPERT OPINIONS OF PLAINTIFF’S PHYSICIANS ON CAUSATION
          ARE NOT RELIABLE.

          A. The legal requirements for admitting scientific evidence of causation.

          Plaintiff’s medical experts rely exclusively on the chronology of Plaintiff’s symptoms as

   she reported them to conclude the shipboard fall is the underlying cause. However, it is well

   established in the Eleventh Circuit that temporal proximity, alone, is not a scientific

   methodology that satisfies the reliability requirements under Daubert. See, e.g., Estate of Gilliam

   v. City of Prattville, 667 F. Supp.2d 1276, 1296 (M.D. Alab. 2009). In Gilliam, the district court

   excluded the causation opinion of an expert that was “merely the product of the argument that

   what happens first must have caused what happened second.” Gilliam, at 1296. The Court’s

   holding is apropos here:

              Simply put, correlation is not causation, and as the Eleventh Circuit has held,
              the post hoc ergo propter hoc fallacy is not reliable enough to be allowed as
              expert testimony.

   Gilliam, at 1296, citing McClain v. Metabolife Int’l Inc., 401 F.3d 1233, 1243 (11th Cir. 2005).

          More recently, the Eleventh Circuit Court of Appeals affirmed the district courts’

   exclusion of an expert’s causation opinion where no differential etiology methodology was

   conducted and the expert relied exclusively on a temporal relationship, and the Court explained:

          The methodology employed by [plaintiff’s doctors] was unreliable, as it amounted
          to simple reliance on a temporal relationship. The doctors concluded that,


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          because the [plaintiffs] did not manifest their specific injuries or need for
          [treatment] until after the event, the [incident] was the cause of those injuries.
          Such reasoning “is a classic ‘post hoc ergo propter hoc’ fallacy which ‘assumes
          causation from temporal sequence.’”

   Cooper v. Marten Transport, Ltd., 2013 U.S. App. LEXIS 19778 (11th Cir. 2013). It is called a

   fallacy because it makes an assumption based on the false inference that a temporal relationship

   proves a causal relationship. McClain v. Metabolife Int’l Inc., 401 F.3d 1233, 1243 (11th Cir.

   2005). In this Circuit,

          a mere temporal relationship between an event and a patient’s disease or
          symptoms does not allow an expert to place that event on a list of possible causes
          of the disease or symptoms. Case studies and clinical experience, used alone and
          not merely to bolster other evidence are also insufficient to show general
          causation.

   Hendrix, at 1197, citing Rider v. Sandoz Pharms. Corp., 295 F.3d 1194, 1202 (11th Cir. 2002).

          When a diagnosis is given and the experts seek to opine on the cause of the condition at

   issue, the experts must conduct the relevant and appropriate methodology – differential etiology.

   Hendrix ex rel. G.P. v. Evenflor Co., Inc., 609 F.3d 1183, 1195, fn. 5 (11th Cir. 2010).

   Differential etiology is a medical process of elimination whereby the possible causes of a

   condition are considered and ruled out one-by-one, leaving only one cause remaining. Hendrix

   ex rel. G.P. v. Evenflor Co., Inc., 609 F.3d 1183, 1195 (11th Cir. 2010). A reliable differential

   etiology analysis is accomplished in two steps:            (1) compiling a comprehensive lists of

   hypotheses that might explain the set of salient clinical findings under consideration; and (2) the

   expert must eliminate all causes but one. Hendrix, at 1195 (citations omitted).

          The second step is crucial. An expert must provide reasons for rejecting alternative

   hypotheses using scientific methods and procedures and the elimination of those hypotheses

   must be founded on more than subjective beliefs or unsupported speculation. Hendrix, 609 F.3d



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   at 1197. If the expert utterly fails to offer an explanation for why the alternative causes are ruled

   out, then the expert’s testimony is justifiably excluded. The reliability of the expert’s method is

   judged by the application of the differential etiology approach to the facts of the case and the

   validity of the expert’s particular method of analyzing the data and drawing conclusions

   therefrom. Hendrix, at 1195.

          This legal standard for admissibility is applied even where science has not definitively

   determined the cause of why an ailment develops:

          Given time, information, and resources, courts may only admit the state of science
          as it is. Courts are cautioned not to admit speculation, conjecture, or inference
          that cannot be supported by sound scientific principles. ‘The courtroom is not the
          place for scientific guesswork, even of the inspired sort. Law lags science; it does
          not lead it.’

   Rider v. Sandoz Pharms. Corp., 295 F.3d 1194, 1202 (11th Cir. 2002) (quoting Rosen v. Ciba-

   Geigy Corp., 78 F.3d 316, 319 (7th Cir. 1996)). As the gatekeepers, the district courts are bound

   to rigorously scrutinize the reliability of the proffered expert opinions.

          B. Dr. Harrington and Dr. Myers did not provide a reliable, admissible opinion on
             causation as to her lumbar pain to relate Plaintiff’s claims to the incident on the
             vessel.

          Neither Dr. Myers nor Dr. Harrington conducted any differential etiology analysis before

   reaching their conclusions that Plaintiff’s complaints were causally related to the shipboard fall.

   While the precedent set forth above rejects a “before and after” comparison to prove causation,

   neither of Plaintiff’s experts bothered to assess Plaintiff’s medical conditions and history before

   the subject cruise. The fact that Dr. Harrington fails to include relevant information from

   Plaintiff’s medical history into his analysis when he was a treating physician predating this

   incident borders the absurd. Dr. Myers essentially only conducted an “after” consideration of one

   event, and did become aware of or rule out any other events that occurred and other injuries


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   Plaintiff sustained to the body parts at issue from prior to the accident. Dr. Myers’s ignorance of

   Plaintiff’s accurate medical history is not scientific or reliable or admissible.

          Plaintiff’s expert’s causation opinions both fail at step one. They refused to identify

   potential alternative etiologies of Plaintiff’s medical conditions by ignoring her medical history.

   Plaintiff presents no authority to support that it is scientifically reliable to adopt without a

   litigant’s version of medical history without any corroboration or investigation whatsoever.

   Such tunnel vision is the antithesis of the reliable, appropriate differential etiology analysis. The

   binding precedent set forth above makes it clear that the fact that the shipboard fall occurred does

   not prove causation. Their inability or failure to rule out plaintiff’s pain symptoms up to 4 days

   before she departed on the subject cruise render both Dr. Myers and Dr. Harrington’s causation

   opinions unreliable.

          WHEREFORE, the Defendant Carnival Corporation respectfully requests this Court enter

   an Order precluding Plaintiff from presenting the expert opinions as set forth above.

                           CERTIFICATE OF CONFERRING WITH COUNSEL

          Pursuant to Local Rule 7.1(c) of the Rules governing practice in and for the Southern

   District of Florida, Defense counsel conferred with counsel for Plaintiff and he confirmed that

   Plaintiff opposes the relief sought herein.


   Dated: October 3, 2016
                                                   Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

            WE HEREBY CERTIFY that on October 3, 2016, we electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. We also certify that the foregoing

   document is being served this day on all counsel of record or pro se parties identified on the

   attached Service List in the manner specified, either via transmission of Notices of Electronic

   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

   who are not authorized to receive electronic Notices of Electronic Filing.


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